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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLORADO

  STEPHEN HAMER,                                )
  an individual,                                )       Case No:
                                                )
                 Plaintiff,                     )       Judge:
                                                )
  v.                                            )       Magistrate Judge:
                                                )
  CITY OF TRINIDAD,                             )
                                                )
                                                )
                 DEFENDANT.                     )
                                                )

                                           COMPLAINT

   “I now lift my pen to sign this Americans with Disabilities Act and say: Let the shameful wall of
                      exclusion finally come tumbling down. God bless you all.”

                                                    - President George H. W. Bush, July 26, 1990

          Plaintiff, STEPHEN HAMER, an individual, by and through his undersigned counsel,

  hereby files this Complaint and sues the CITY OF TRINIDAD, as the entity responsible for the

  sidewalks and curb cuts in the City of Trinidad, for damages, injunctive and declaratory relief,

  attorneys’ fees and costs pursuant to Title II of the Americans with Disabilities Act, 42 U.S.C. §

  12131 et seq. (“Americans with Disabilities Act” or “ADA”), the Rehabilitation Act of 1973, 29

  U.S.C. § 794 et seq. (“Rehabilitation Act”), and states as follows:

                                          BACKGROUND

  1.      Named Plaintiff STEPHEN HAMER brings this action on behalf of himself who is being

          discriminated against and subjected to unlawful or hazardous conditions due to the

          absence of accessible curb ramps within the City’s pedestrian right of way.

  2.      Upon information and belief, many of the sidewalks and curbs in the City of Trinidad are

          owned by DEFENDANT.
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  3.    Upon information and belief, to the extent DEFENDANT does not own portions of the

        sidewalks and curbs, DEFENDANT nonetheless operates those sidewalks and curbs as it

        has the right to repair or rebuild those sidewalks or curbs under the local municipal code.

  4.    Upon information and belief, to the extent DEFENDANT does not own portions of the

        sidewalks and curbs, DEFENDANT nonetheless operates those sidewalks and curbs by

        requiring their usage by the public.

  5.    On February 12, 2015, STEPHEN HAMER appeared in a local news story by KOAA

        News 5, concerning ADA violations in the CITY OF TRINIDAD, highlighting the

        accessibility problems with the City’s sidewalks and curb ramps.

  6.    On September 30, 2016, STEPHEN HAMER again appeared in a local news story by

        KOAA News 5, which highlighted how no changes have been made to address the

        problems outlined by the February 12, 2015 news story.

                                JURISDICTION AND PARTIES

  7.    This is an action for declaratory and injunctive relief pursuant to Title II of the Americans

        with Disabilities Act, 42 U.S.C. §12131 et seq., (see also 28 U.S.C. § 2201 and § 2202),

        and for Plaintiff’s claims arising from 29 U.S.C. §794 et seq. (Rehabilitation Act).

  8.    This Court is vested with original jurisdiction pursuant to 28 U.S.C. § 1331 and 1343.

  9.    This Court has jurisdiction to issue declaratory and injunctive relief pursuant to 28 U.S.C.

        § 2201 and 2202, and Rule 56 of the Federal Rules of Civil Procedure.

  10.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the

        DEFENDANT’s Property, which is the subject of this action, is located in Las Animas

        County, Colorado.


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  11.   Plaintiff, STEPHEN HAMER, (hereinafter referred to as “MR. HAMER”) is a resident of

        Trinidad, Colorado.

  12.   MR. HAMER is a qualified individual with a disability under the ADA. MR. HAMER

        has severe bilateral ankle problems.

  13.   Due to his disability, MR. HAMER is substantially impaired in several major life

        activities. Specifically, MR. HAMER uses an electric wheelchair or scooter for mobility

        due to his disability. MR. HAMER cannot ambulate without the assistance of a

        wheelchair or scooter.

  14.   Upon information and belief, DEFENDANT is the political entity responsible for

        owning, administering, operating, and maintaining the sidewalks and curbs within the

        City of Trinidad (“the Property”). As discussed above, however, to the extent

        DEFENDANT does not own some of the sidewalks or curbs in the City of Trinidad, it is

        nonetheless responsible for their construction, repair, replacement, and/or maintenance.

  15.   DEFENDANT is responsible for complying with the obligations of the ADA.

  16.   All events giving rise to this lawsuit occurred in Las Animas County, District of

        Colorado.

                                         COUNT I
                              VIOLATION OF TITLE II OF THE ADA

  17.   MR. HAMER realleges and reavers paragraphs 1-16 as if they were expressly restated

        herein.

  18.   Upon information and belief, DEFENDANT is a public entity, subject to the ADA, and is

        responsible for the properties which form the basis of this suit: sidewalks and curbs

        forming the pedestrian right of way which are located in Trinidad, Colorado


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  19.   The City’s pedestrian right of way is a fundamental public program, service, and/or

        activity that the City provides for the benefit of its residents and visitors.

  20.   Accessible curb ramps are necessary to permit people who use wheelchairs and scooters

        to access the City’s pedestrian right of way.

  21.   Because the City’s pedestrian right of way constitutes a core mode of transportation, the

        absence of accessible curb ramps prevent people with mobility disabilities from

        independently, fully, and meaningfully participating in all aspects of society, including

        but   not   limited    to   employment,      housing,    education,    transportation,   public

        accommodations, and recreation.

  22.   When DEFENDANT constructs, repairs, replaces, or maintains sidewalks and curbs, it

        promotes the general public’s convenience by overcoming a collective action problem

        and allowing citizens to focus on other ventures. Moreover, when DEFENDANT builds

        or alters a sidewalk, it helps meet a general demand for the safe movement of people and

        goods.

  23.   The regulations implementing Title II of the ADA specifically provide that a public entity

        must install curb ramps at intersections whenever it newly constructs or alters sidewalks,

        streets, roads, and/or highways at any time after January 26, 1992 and must comply with

        Uniform Federal Accessibility Standards (UFAS) or with the Americans with Disabilities

        Act Accessibility Guidelines for Buildings and Facilities (ADAAG) 28 C.F.R. § 35.151.

        A street resurfacing project by a public entity is one example of an alteration under the

        meaning of the regulation.

  24.   In common understanding, DEFENDANT provides a service to its citizens when it builds



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             or alters a public sidewalk. Additionally, by requiring its citizens to use the sidewalks and

             curbs under penalty of fine, DEFENDANT makes this governmental service compulsory.

  25.        As stated in the case of Frame v. City of Arlington “If a city official authorizes a public

             sidewalk to be built in a way that is not readily accessible to disabled individuals without

             adequate justification, the official denies disabled individuals the benefits of that

             sidewalk no less than if the official poured the concrete himself.”1

  26.        Upon information and belief, DEFENDANT develops and provides the services and

             programs offered at the Property.

  27.        MR. HAMER has used, or attempted to use, numerous areas of the pedestrian right of

             way the City of Trinidad in the past. MR. HAMER lives in the Corazon Square

             Apartments, located at 201 Raton St., Trinidad, Colorado 81082.

  28.        MR. HAMER has tried to use the architectural features offered at numerous sidewalks

             and curb ramps, but has experienced great difficulty as a result of noncompliant features,

             including but not limited to intersections without curb ramps or an inadequate number of

             curb ramps, curb ramps that are improperly installed and/or maintained, lack of a flush

             transition to the street, ramps with excessively steep running, cross, and side slopes,

             ramps that are too narrow and/or are otherwise noncompliant, and curb ramps that are not

             maintained resulting in ramps that are broken, cracked, crumbled, sunken, and/or caved.

  29.        MR. HAMER intends on attempting to utilize the pedestrian right of way offered by

             DEFENDANT in the near future, but fears that he will continue to encounter great

             difficulty as a result of numerous architectural barriers which form the basis of this suit.

  30.        While at the Property MR. HAMER has tried to access numerous architectural features
  1
      657 F. 3d 215, 226 (5th Cir. 2001)

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        but has encountered numerous barriers which hindered his ability to access the services

        and utilize the programs offered at the Property.

  31.   MR. HAMER tried to use the architectural features offered Property, but experienced

        great difficulty as a result of the noncompliant features.

  32.   As a result of DEFENDANT’s discrimination, MR. HAMER has been unable to fully

        utilize the pedestrian right of way which is offered by DEFENDANT. Instead, MR.

        HAMER is often forced to ride his wheelchair in the public street due to the dilapidated

        and dangerous state of the sidewalks and curbs in the City of Trinidad.

  33.   Many of the barriers discussed below put MR. HAMER in danger of physical injury and

        personal harm. For example, broken sidewalks and ramps, excessively steep cross slope,

        or debris make it possible for MR. HAMER to flip out of his wheelchair.

  34.   Further, MR. HAMER is at risk of physical injury and personal harm as a result of his

        having to ride his wheelchair in street. When riding his wheelchair in the street, MR.

        HAMER is low to the ground and could be struck by passing vehicles.

  35.   The barriers discussed below are excluding MR. HAMER from the programs and

        activities offered at the Property.

  36.   Upon information and belief, DEFENDANT has discriminated, and is continuing to

        discriminate, against MR. HAMER in violation of the ADA by excluding and/or denying

        MR. HAMER the benefits of its services, programs, and/or activities by failing to, inter

        alia, have accessible facilities. MR. HAMER’s visits to the Property shows that the

        program, when viewed in its entirety, is not accessible.

  37.   Upon information and belief, as set forth herein, MR. HAMER alleges that since March



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        15, 2012, DEFENDANT has constructed, altered, or repaired parts of these facilities

        within the meaning of ADAAG and the UFAS, and that DEFENDANT, through its

        administrative methods, policies, and practices, has failed to make such facilities

        compliant with the ADAAG and UFAS, as updated in 2010 and as required under 28

        C.F.R. 35.151(c)(5).

  38.   Upon information and belief, as set forth herein, MR. HAMER alleges that

        DEFENDANT and its agents and employees have violated and continue to violate Title II

        of the ADA by failing to maintain the features of the City’s walkways and curb ramps

        that are required to be accessible.

  39.   Upon information and belief, as set forth herein, MR. HAMER alleges that

        DEFENDANT and its agents and employees have violated and continue to violate Title II

        of the ADA by failing to timely respond to and remedy complaints regarding the lack of

        accessible curb ramps necessary to ensure access to the City’s pedestrian right of way.

  40.   DEFENDANT’s ADA barriers and failure to comply with the ADA include but are not

        limited to the following particulars:

        A. The curb ramp outside of the Corazon Square apartments on Raton Street where MR.

           HAMER lives is cracked and broken.

        B. There is no curb cut on the eastern sidewalk of the intersection of Santa Fe Trail and

           West First Street.

        C. There are raised concrete pads along the pedestrian right of way along Santa Fe Trail

           that present a vertical change in level greater than 1 inch.

        D. The crosswalk at the intersection of West Main Street and Santa Fe Trail is raised



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           brick, rather than smooth pavement, making it difficult for MR. HAMER to traverse

           in an electric wheelchair or scooter.

        E. Although it is a relatively short distance from MR. HAMER’s apartment to the

           Safeway grocery store on West Main Street, there are several intersections with no

           curb cuts along the way. This requires MR. HAMER to travel along an extended

           route and to enter the vehicular way in order to buy groceries for himself.

        F. Several sidewalks throughout the City, including but not limited to the section of

           West Main Street between Animas Street and Convent Street, are paved with

           decorative brick that is difficult to traverse and impedes the required 36 inch access

           aisle.

        G. The accessible route on the sidewalk in front of Bella Luna Pizzeria is reduced to less

           than 24 inches, in lieu of the required 36 inches, because of designated space for

           outdoor seating.

        H. There are curb cuts throughout the city with an impermissibly excessive slope.

        I. There is no curb cut on the northeast corner of the intersection at East Main and

           Maple streets.

        J. The crosswalk at the southeast corner of the intersection of East Man and Maple

           streets does not lead to a curb cut. The only accessible entrance to the sidewalk from

           this crosswalk is cracked and broken.

        K. There is no curb cut at the northeast corner of Main and Chestnut streets, resulting in

           no access to the Post Office.

        L. There is no curb cut at the southeast corner of Main and Chestnut streets.



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        M. There is a non-compliant curb ramp at the southwest corner of Main and Chestnut

           streets, the only access to the sidewalk is cracked and broken.

        N. There is a drain cover along Main Street near the post office that protrudes upwards

           over 1 inch.

        O. The sidewalk on Chestnut Street between Main Street and East First Street

           approaching the Las Animas County Courthouse is noncompliant for the following

           reasons:

               a. Areas of the sidewalk are cracked and broken,

               b. There is vegetation protruding through the concrete which makes it difficult to

                   traverse,

               c. There are decorative bricks that make it difficult to traverse, and

               d. Areas with missing bricks have been filled with unsmooth concrete.

        P. There are a lack of curb cuts at the intersection of Chestnut and East First streets near

           the Las Animas County Courthouse.

        Q. There is a drain along the accessible route to the Las Animas County Courthouse that

           presents a dangerous and hazardous obstacle to persons using mobility aids.

        R. There are no curb cuts at all at the intersection of Maple and First streets.

        S. There are non-compliant new constructions being done along the pedestrian right of

           way in the City of Trinidad, including but not limited to construction being done at

           the intersection of Plum Street and Commercial Street. Violations at this location

           include a fire hydrant located in the middle of the sidewalk. Instead of forming the

           sidewalk around the hydrant to allow persons using mobility aids such as MR.



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             HAMER to use the pedestrian right of way, he must take an extended route and enter

             the vehicular roadway.

   42    U.S.C. § 12133 provides: “[t]he remedies, procedures, and rights set forth in section 794

         of Title 29 shall be the remedies, procedures, and rights this subchapter provides to any

         person alleging discrimination on the basis of disability in violation of section 12132 of

         this title.”

   41.   DEFENDANT has discriminated against MR. HAMER by denying him full access to the

         services, programs, and/or activities by failing to make its facilities readily accessible as

         required by U.S.C. §12132 and its implementing regulations 28 C.F.R. Part 35.101-

         35.190 et. seq.

   42.   DEFENDANT has discriminated against MR. HAMER by denying him full access to the

         services, programs, and/or activities by failing to maintain its facilities in a readily

         accessible condition, as is required by 28 C.F.R. Part 35.133.

   43.   DEFENDANT has discriminated, and is continuing to discriminate, against MR.

         HAMER in violation of the ADA by excluding and/or denying MR. HAMER the full and

         equal benefits of its services, programs, and/or activities by failing to, inter alia, have

         accessible facilities. MR. HAMER personally experienced the numerous barriers to

         access on the Property discussed herein.

   44.   28 C.F.R. § 35.130(4) states that “[a] public entity may not, in determining the site or

         location of a facility, make selections–(I) [t]hat have the effect of excluding individuals

         with disabilities from, denying them the benefits of, or otherwise subjecting them

         to discrimination...” DEFENDANT has violated this provision by providing its services,



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         programs, and/or activities at an inaccessible facility.

   45.   DEFENDANT discriminated against MR. HAMER                   by   excluding      him   from

         participation in, and denying the benefits of, the services, programs, and/or activities at

         its Property because of MR. HAMER’s disability, all in violation of 42 U.S.C. §

         12132.

   46.   Upon information and belief, DEFENDANT continues to discriminate against MR.

         HAMER, and all those similarly situated, by failing to make reasonable modifications in

         policies, practices or procedures, when such modifications are necessary to afford all

         offered    goods, services, programs, activities, facilities, privileges, advantages or

         accommodations to individuals with disabilities; and by failing to make such efforts

         that may be necessary to ensure that no individual with a disability is excluded,

         denied services, programs, and/or activities, segregated or otherwise treated differently

         than other individuals because of the absence of auxiliary aids and services.

   47.   Upon information and belief, MR. HAMER and all other individuals similarly situated

         have been denied access to, and have been denied the benefits of services, programs

         and/or activities of DEFENDANT’s Property, and have otherwise been discriminated

         against and damaged by DEFENDANT because of DEFENDANT’s discrimination,

         as set forth above. MR. HAMER and all others similarly situated will continue to suffer

         such discrimination, injury and damage without the immediate relief provided by the

         ADA as requested herein. Furthermore, as required by the ADA and other remedial civil

         rights legislation, to properly remedy DEFENDANT’s discriminatory violations and

         avoid piecemeal litigation, MR. HAMER requires a full inspection of DEFENDANT’s



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         Property in order to catalogue and cure all the areas of non-compliance with the ADA.

   48.   As a direct and proximate result of the aforementioned acts, MR. HAMER has suffered

         and continues to suffer difficulty, hardship, anxiety, and danger, due to DEFENDANT’s

         failure to remediate missing, defective, inaccessible curb ramps throughout the City’s

         pedestrian right of way. These failures have denied and continue to deny MR. HAMER

         the full, equal, and meaningful access to the pedestrian right of way that the ADA

         requires.

   49.   MR. HAMER has retained the undersigned counsel and is entitled to recover

         reasonable attorneys’ fees, costs and litigation expenses from DEFENDANT pursuant to

         42 U.S.C. § 12205 and 28 C.F.R. § 35.175.

   50.   MR. HAMER is without adequate remedy at law and is suffering irreparable harm.

   51.   Pursuant to 42 U.S.C. § 12131, et seq., this Court is provided authority to grant MR.

         HAMER's injunctive relief including an order DEFENDANT to alter the Property to

         make those facilities, and/or programs, and/or activities, readily accessible and usable to

         MR. HAMER and all other persons with disabilities as defined by the ADA; or by

         closing the Property until such time as DEFENDANT cures its violations of the ADA.

                                      COUNT II
                        VIOLATION OF THE REHABILITATION ACT

   52.   MR. HAMER adopts and re-alleges the allegations contained in paragraphs 1-51 as if

         fully stated herein.

   53.   MR. HAMER brings this claim against DEFENDANT, based upon the Rehabilitation

         Act, 29 U.S.C. §794, et seq.

   54.   The Rehabilitation Act provides that:


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                No otherwise qualified individual with handicaps in the United

                States, as defined by 7(8) [29 USCS § 706(8)], shall, solely by

                reason of his or her handicap, be excluded from the participation in,

                be denied the benefits of, or be subjected to discrimination under

                any program or activity receiving Federal financial assistance or

                under any program or activity conducted by any Executive agency

                or by the United States Postal Service. 29 U.S.C. § 794(a).

   55.   Upon information and belief, as set forth herein, DEFENDANT has violated the

         Rehabilitation Act by intentionally excluding the MR. HAMER, solely by reason of his

         disabilities, from the participation in, and denying him the benefits of, and have otherwise

         subjected them to discrimination under, DEFENDANT’s programs and activities.

   56.   Upon information and belief, a non-exclusive list of DEFENDANT’s violations of the

         Rehabilitation Act and discriminatory conduct against MR. HAMER are evidenced by:

         A.     denying MR. HAMER access to, and the opportunity to participate in or benefit

                from, the aids, benefits, activities, programs, accommodations and services

                offered at the Property;

         B.     by otherwise limiting MR. HAMER in the enjoyment of the rights, privileges,

                advantages and opportunities enjoyed by individuals without disabilities who

                receive DEFENDANT's aids, benefits and services;

         C.     making facility site or location selections that have the effect of discriminating

                against individuals with disabilities and excluding them from and denying them

                the benefits of, and defeating or substantially impairing the accomplishment of the



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                objectives of, the services, programs and activities offered by DEFENDANT at

                the Property;

         D.     failing to administer services, programs and activities in the most integrated

                setting appropriate to the needs of MR. HAMER;

         E.     excluding MR. HAMER from participation in, and the benefits of,

                DEFENDANT's services programs and activities as a result of DEFENDANT's

                Property being inaccessible to or unusable by MR. HAMER; and

         F.     failing to design and/or construct new facilities, or make alterations to existing

                facilities, which are readily accessible to and useable by individuals with

                disabilities.

   57.   Upon information and belief, there are additional, ongoing violations of the

         Rehabilitation Act at the Property which MR. HAMER is more likely than not going to

         encounter upon his future visits to the subject premises. MR. HAMER brings this action:

         A.     to redress injuries suffered as a result of DEFENDANT's discriminatory actions

                and inactions set forth herein;

         B.     to reasonably avoid further and future injury to MR. HAMER as a result of

                DEFENDANT’s ongoing failure to cease their discriminatory practices as set

                forth in this action, including correcting violations of the Act;

         C.     to ensure DEFENDANT’s Property is accessible as required by the relevant

                applications of Title II of the ADA;

         D.     to be made whole and ensure future compliance; and

         E.     to reasonably avoid future ADA and Rehabilitation Act litigation involving the



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                same Property and under the same laws as set forth herein with its concomitant

                impact on otherwise scarce judicial resources.

   58.   Only through a complete inspection of the Property and related facilities, undertaken by

         MR. HAMER and/or his representatives, can all said violations be identified and cured so

         as to ensure access for the disabled, the primary purpose of this action.

   59.   Upon information and belief, DEFENDANT is the recipient of federal funds.

   60.   Upon information and belief, as the recipient of federal funds, DEFENDANT is liable for

         damages to MR. HAMER as a result of its acts and omissions constituting intentional

         discrimination.

   61.   As set forth above, MR. HAMER has been denied access to, and has been, and without

         the relief requested herein will continue to be denied the access to the goods, services,

         programs, facilities, activities and accommodations offered by DEFENDANT solely by

         reason of his disability, and has otherwise been discriminated against and damaged solely

         by reason of her disability as a result of DEFENDANT's Rehabilitation Act violations set

         forth above.

   62.   MR. HAMER has been obligated to retain undersigned counsel for the filing and

         prosecution of this action, and has agreed to pay his counsel reasonable attorneys’ fees,

         including costs and litigation expenses, incurred in this action. MR. HAMER is entitled

         to recover those attorneys’ fees, costs and litigation expenses from DEFENDANT

         pursuant to 29 U.S.C. §794(b).

   63.   Pursuant to 29 U.S.C. §794(a) this Court is provided authority to grant MR. HAMER’s

         injunctive relief including an order to alter the subject premises, facilities, services,



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        activities, programs and accommodations to make them accessible to and usable by

        individuals with disabilities to the extent required by the Rehabilitation Act; closing all

        premises and facilities and discontinuing all non-complying services, activities, programs

        and accommodations until the requisite modifications are completed; and, granting MR.

        HAMER compensatory damages for DEFENDANT's discriminatory actions.

                                      PRAYER FOR RELIEF

        WHEREFORE, MR. HAMER prays that:

               A.      This Court issue a Declaratory Judgment that determines that

                       DEFENDANT is in violation of Title II of the Americans with Disabilities

                       Act, 42 U.S.C. § 12131 et seq;

               B.      This Court issue a Declaratory Judgment that determines that the property,

                       programs    and        activities     owned,    operated    and   administered    by

                       DEFENDANT is in violation of the Rehabilitation Act;

               C.      This Court grant preliminary and permanent injunctive relief against

                       DEFENDANT including an order to make all readily achievable

                       alterations to the Property; or to make such Property readily accessible to

                       and usable by individuals with disabilities to the extent required by the

                       ADA;     and      to      require        DEFENDANT          to    make    reasonable

                       modifications     in      policies,      practices   or   procedures,    when    such

                       modifications      are necessary to afford all offered goods, services,

                       facilities, privileges, advantages or accommodations to individuals with

                       disabilities; and by failing to take such stops that may be necessary to



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                    ensure that no individual with a disability is excluded, denied services,

                    segregated or otherwise treated differently than other individuals because

                    of the absence of auxiliary aids and services;

              D.    This Court enter an Order directing DEFENDANT to alter and modify the

                    Property   and    its   facilities,   services,   activities,   programs   and

                    accommodations as appropriate to comply with the ADA, and the

                    Rehabilitation Act, including but not limited to the following actions;

                    i.     Ensure that the City install, remediate, repair, and maintain curb

                           ramps such that, when viewed in its entirety, the City’s pedestrian

                           right of way is readily accessible to and usable by individuals with

                           mobility disabilities;

                    ii.    Ensure prompt remedial measures to cure past violations of the

                           City’s requirements to construct or alter curb ramps as required by

                           the new construction and alteration obligations of Title II of the

                           ADA, 28 C.F.R. §§ 35.151(a), (b), (c), or (i), and Section 504, 45

                           C.F.R. §§ 84.22, and the curb ramp design standards in effect at

                           the time of such new construction or alterations;

                    iii.   Ensure that all future new construction and alterations to the City’s

                           curb ramps fully comply with the 2010 ADA Standards for

                           Accessible Design, or other federal access design standards,

                           whichever is most stringent in its disability access requirements;

                    iv.    Ensure that DEFENDANT adopts and implements administrative



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                           methods, policies, and practices, to maintain accessible curb

                           ramps, and;

                    v.     Remain under this Court’s jurisdiction until DEFENDANT fully

                           complies with the Orders of this Court;

              E.    This Court awards monetary damages, pursuant to Title II and 29 U.S.C. §

                    794a(a)2 for the harmed caused by DEFENDANT’s discriminatory

                    practices;

              F.    This Court award of reasonable attorneys’ fees, costs and litigation

                    expenses pursuant to 29 U.S.C. § 794a(a)2 and 42 U.S.C. § 12205 and 28

                    C.F.R. § 35.175; and

              G.    Such other relief as the Court deems just and proper, and/or is allowable

                    under Title II of the ADA, and the Rehabilitation Act.




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                                                     Respectfully Submitted,

                                                     THE BIZER LAW FIRM
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                                                 By:/s/ Garret S. DeReus
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                           CERTIFICATION OF GOOD STANDING

           I hereby certify that I am a member in good standing of the bar of the United States
   District Court for the District of Colorado, and I appear in this case as counsel for Stephen
   Hamer.

                                                            By:/s/ Garret S. DeReus
                                                               GARRET S. DEREUS




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